‘6. AO 245D_ (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
MATTHEW RYAN MCCAULEY

Case Number: CR 12-3023-1
L] Revocation of Probation USM Number: — 12155-029
HE Revocation of Supervised Release Christopher J Roth

CL] Modification of Supervision Conditions Defendant’s Attorney

LC] AMENDED REVOCATION JUDGMENT
Date of Most Recent Judgment:

THE DEFENDANT:

HB admitted guilt to violation(s) 1b, 2a-d, 3, & 5 of the term of supervision.

LC was found in violation of after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number

Nature of Violation

Violation Ended

1b Failure to Participate in Substance Abuse Testing 03/18/2024
2a-d Use of a Controlled Substance 04/15/2024
3 Failure to Truthfully Answer Inquiries 03/19/2024
5 Failure to Notify of Change in Employment 04/05/2024

The defendant is sentenced as provided in pages 2 through

Sentencing Reform Act of 1984.

CI The defendant was not found in violation of

3___ of this judgment. The sentence is imposed pursuant to the

and is discharged as to such violation(s).

HB The Court did not make a finding regarding violation(s)

la&4

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or

mailing address until all fines, restitution, costs, and special assessments imposed by
restitution, the defendant must notify the court and United States Attorney of material changes i

Leonard T. Strand
United States District Court Judge

Name and Title of Judge

April 15, 2024

Date of Imposition of Judgment

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+h are fully paid. If ordered to pay

" ic circumstances.
Signature of Judge 7

d/is [24

Date

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DEFENDANT: MATTHEW RYAN MCCAULEY
CASE NUMBER: CR 12-3023-1

PROBATION

[-]_ The defendant’s supervision is continued with the addition of special condition number(s):

IMPRISONMENT

[J No imprisonment is ordered as part of this modification.

HE The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 11 months.

HE The court makes the following recommendations to the Federal Bureau of Prisons:

It is recommended that the defendant be designated to a Bureau of Prisons facility in close proximity to Fort Dodge,

Towa, which is commensurate with the defendant's security and custody classification needs.

The defendant is remanded to the custody of the United States Marshal.

Om

The defendant must surrender to the United States Marshal for this district:

C] at Olam EC pm. on
C as notified by the United States Marshal.

[1] The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
C) before 2 p.m. on
CJ as notified by the United States Marshal.
(1 as notified by the United States Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL

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SUPERVISED RELEASE

a Upon release from imprisonment, No Term of Supervised Release is reimposed.

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